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                       IN THE UNITED STATES DISTRICT COURT

                     FOR THE SOUTHERN DISTRICT OF GEORGIA

                                   AUGUSTA DIVISION

VANESSA LOYAL,                                 )
                                               )
              Plaintiff,                       )
                                               )
       v.                                      )           CV 122-084
                                               )
GEORGIA DEPARTMENT OF                          )
CORRECTIONS, et al.,                           )
                                               )
              Defendants.                      )
                                          _________

                                          ORDER
                                          _________

       For the reasons stated at the July 19, 2023 status conference, the Court STAYS all

discovery pending mediation on September 18, 2023, except for depositions already noticed

of defendants who will not assert the Fifth Amendment privilege. The parties shall advise the

Court as to the status of the case by no later than September 25, 2023, and, if the case is not

resolved, shall submit a joint proposed Amended Scheduling Order along with their status report.

       SO ORDERED this 20th day of July, 2023, at Augusta, Georgia.
